                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   at KNOXVILLE

 UNITED STATES OF AMERICA,                    )
                                              )
 Plaintiff,                                   )
                                              )          Case No. 3:12-cr-152
 v.                                           )
                                              )          Judge Mattice
 CAROL J. PAZDER,                             )          Magistrate Judge Guyton
                                              )
 Defendant.                                   )
                                              )

                                          ORDER

        On February 7, 2014, United States Magistrate Judge H. Bruce Guyton filed his

 Report and Recommendation (Doc. 46) pursuant to 28 U.S.C. § 636(b)(1). In his Report

 and Recommendation, Magistrate Judge Guyton recommended that Defendant’s

 Motion to Suppress Statements (Doc. 13) be denied. On February 19, 2014, Defendant

 filed for leave to file objections to Magistrate Judge Guyton’s Report and

 Recommendation beyond the fourteen-day time period, and the Court extended

 Defendant’s deadline to file objections to March 12, 2014. (Docs. 47, 48). On March 6,

 2014, Defendant filed her objections to the Report and Recommendation. (Doc. 49).

        The Court notes that, a party’s objections must be “clear enough to enable the

 district court to discern those issues that are dispositive and contentious,” and generally,

 “the failure to file specific objections to a magistrate’s report constitutes a waiver of

 those objections.” Smith v. Woods, 505 F. App’x 560, 564 (6th Cir. 2012). In reviewing

 Defendant’s objections, the Court finds that they are merely reiterations of the original

 arguments raised in her Motion to Suppress Statements. (Compare Doc. 13 at 5-13 with

 Doc. 49 at 6-12). Specifically, excluding several sentences on page 8 of Defendant’s




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 objections, she has stated verbatim her previous arguments. Defendant’s actions of

 simply copying the text of her previous brief and not raising specific objections are

 inconsistent with notions of judicial efficiency. Howard v. Sec'y of Health & Human

 Servs., 932 F.2d 505, 509 (6th Cir. 1991).

       Thus, the Court finds that further analysis of these same issues would be

 cumulative and is unwarranted in light of Magistrate Judge Guyton’s well-reasoned and

 well-supported Report and Recommendation, in which he fully addressed Defendant’s

 arguments. Nonetheless, the Court has conducted a de novo review of the record,

 specifically including those portions to which Defendant has objected and the transcript

 of Defendant’s Suppression Hearing, and the Court agrees with Magistrate Judge

 Guyton’s analysis and conclusions. See Doc. 52.

       Accordingly, the Court ACCEPTS and ADOPTS Magistrate Judge Guyton’s

 findings of fact, conclusions of law, and recommendations pursuant to § 636(b)(1);

 Defendant’s Objections (Doc. 49) are OVERRULED; and Defendant’s Motion to

 Suppress Statements (Doc. 13) is DENIED.



       SO ORDERED this 2nd day of April, 2014.



                                                     /s/ Harry S. Mattice, Jr._______
                                                     HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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